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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


Jacobs Trading Company, LLC, a                 Court File No.: 13-CV-3060 (RHK/TNL)
Delaware Limited Liability Company, and
Irwin L. Jacobs,

                    Plaintiffs,

      v.
                                                     MOTION FOR ENTRY OF
ESA Marketing, Inc., a Wisconsin                    JUDGMENT PURSUANT TO
Corporation, and Blaine Bundy, a                        FED. R. CIV. P. 54
Wisconsin resident, and Lakeshirts, Inc., a
Minnesota Corporation

                    Defendants.


TO: DEFENDANTS ABOVE-NAMED, AND THOMAS F. HUTCHINSON, AND
    EASTLUND SOLSTAD CADE HUTCHINSON & YSEBAERT LTD., 4200
    COUNTY RD 42 WEST, SAVAGE, MINNESOTA 55378, ATTORNEYS
    FOR DEFENDANT LAKESHIRTS, INC.

      Plaintiffs Jacobs Trading Company, LLC and Irwin L. Jacobs respectfully move

the Court for its order directing entry of judgment against Defendants ESA Marketing,

Inc. and Blaine Bundy for the relief demanded against said Defendants under Counts I

and II of the Complaint.

      Said motion is based upon the default entered against said Defendants on

December 9, 2013 (Doc. 15), the accompanying memorandum in support thereof,

Affidavit of David A. Mahler, and upon all files, records and proceedings herein.
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Dated: January 28, 2014          Respectfully submitted,

                                 MASLON EDELMAN BORMAN & BRAND, LLP

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